         Case 19-02087           Doc 2    Filed 08/09/19 Entered 08/09/19 16:30:07                Desc Ntc Re
                                         Filing of a Complaint Page 1 of 1
                   United States Bankruptcy Court
                                  District of Utah
                                                                                                 Filed & Entered
                                                                                                    On Docket
                                                                                                  August 9, 2019



In re
        Yuliana Cecilia Flores−Escobar and Kenneth Louis M Flores,                       Case Number 18−29141 JTM
                                         Debtor                                          Chapter 7

        Stephen W. Rupp,
                                          Plaintiff
        v.                                                                               Adversary Proceeding
                                                                                         No. 19−02087 JTM
        Yuliana Cecilia Flores−Escobar et al.,
                                        Defendant


                       NOTICE REGARDING THE FILING OF A COMPLAINT
                        OBJECTING TO YOUR BANKRUPTCY DISCHARGE
You have been named as a defendant in a complaint, filed in your bankruptcy case, that seeks to either deny your
discharge of all debts under 11 U.S.C. § 727 or to determine that a specific debt should be excepted from discharge
under 11 U.S.C. § 523. If you have not yet been served with a copy of the summons and complaint, you likely will be
within the next few days. Even if you have already received your bankruptcy discharge, this is a serious matter that
you should not ignore.

While individual debtors are entitled to appear without an attorney and represent themselves in the bankruptcy court,
this nonetheless requires full compliance with the law and procedural rules which can be complex, confusing, and
could result in severe consequences for you personally. Before deciding to represent yourself in this complaint, which
may result in a full or partial denial of your financial fresh start under bankruptcy law, you should consider consulting
an attorney.

Whether you are already represented by an attorney in your bankruptcy case or not, you may qualify for free
legal assistance in defending against this complaint if you cannot afford to pay for an attorney. To determine if
you qualify for free legal assistance, you must contact:

                                                 Utah Legal Services
                                                 205 North 400 West
                                               Salt Lake City, UT 84103
                                                 Phone: 800.662.4245
                                                  Fax: 801.869.2715

NOTE: When you contact Utah Legal Services, you must have a copy of your Summons and Complaint readily
available and inform them you are seeking assistance under the Utah State Bar Pro Bono Bankruptcy Project.
Utah Legal Services will review your situation and determine if you are eligible for this program. If you qualify, a
volunteer attorney may be appointed to represent you without payment of attorneys' fees. However, while some costs
are covered by the program, you may still be responsible for the payment of other costs.

Dated: August 9, 2019                                                           For the Court



                                                                                David A. Sime
                                                                                Clerk of Court
United States Bankruptcy Court                                                  https://www.utb.uscourts.gov
District of Utah                                                                VCIS* (866) 222−8029, then Press 85
350 South Main, #301                                                            * Voice Case Information System
Salt Lake City, UT 84101                                                        Form ntcdfdnt −
Tel. (801) 524−6687
